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                                                                            U.S. DISTRICT COURT
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    The fight over Alabama’s
    congressional redistricting now
    shifts back to federal court
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BY ASSOCIATED PRESS
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MONTGOMERY, Ala. (AP)       Standing at an Alabama Statehouse microphone before lawmakers voted on
new congressional districts, state Rep. Chris England said that change in the Deep South state has often
happened only through federal court order.


The Democratic lawmaker accused Republicans of repeating history and flouting a judicial mandate to
create a second majority-Black district in the state or “something quite close to it.”


“Alabama does what Alabama does. Ultimately, what we are hoping for, I guess, at some point, is that the
federal court does what it always does to Alabama: Forces us to the right thing. Courts always have to
come in and save us from ourselves,” said England, a Black lawmaker from Tuscaloosa.


The fight over whether Alabama’s congressional map complies with the Voting Rights Act of 1965 now
shifts back to federal court as state Republicans submit their new plan to the same three judge panel
that struck down the previous districts.


The outcome could have consequences across the country as the case again weighs the requirements of
the Voting Rights Act in redistricting. It could also impact the partisan leanings of one Alabama
congressional district in the 2024 elections with control of the U.S House of Representatives at stake.


Alabama lawmakers on Friday approved new district lines six weeks after the surprise U.S. Supreme
Court ruling upholding a lower court ruling that the state’s previous map       with one Black majority
district out of seven in a state that is 27% Black   likely violated the Voting Rights Act by diluting the
voting power of Black residents.


The state’s Republican legislative supermajority boosted the percentage of Black voters in the majority
white 2nd Congressional District, now represented by Republican Rep. Barry Moore, from about 31% to
almost 40%. The plan also dropped the Black voting age population in the state’s sole majority Black
district, now represented by Democratic Rep. Terri Sewell, to 50.65%.


A group of voters who won the U.S. Supreme Court decision announced that they will challenge the
new plan. The three judge panel has set an Aug. 14 hearing on the new plan and could eventually order a
special master to draw new lines for the state.
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                         Hugo Black Federal Courthouse in Birmingham


“The Alabama Legislature believes it is above the law. What we are dealing with is a group of lawmakers
who are blatantly disregarding not just the Voting Rights Act, but a decision from the U.S. Supreme Court
and a court order from the three judge district court,” the plaintiffs said in a statement. “Even worse,
they continue to ignore constituents’ pleas to ensure the map is fair and instead remain determined to
rob Black voters of the representation we deserve,” the plaintiffs said.


Alabama will argue that the map complies with the court order and adheres to other redistricting
principles such as keeping districts compact and not dividing communities of interest.


“The Legislature’s new plan fully and fairly applies traditional principles in a way that complies with the
Voting Rights Act. Contrary to mainstream media talking points, the Supreme Court did not hold that
Alabama must draw two majority minority districts,” state Attorney General Steve Marshall’s office said in
a statement. “Instead, the Court made clear that the VRA never requires adoption of districts that violate
traditional redistricting principles.”
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